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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 EUGENIO VARGAS,             §
                             §
    Plaintiff,               §
                             §
 v.                          §                         Civil Action No. 4:22-cv-00430-O
                             §
 ASSOCIATION OF PROFESSIONAL §
 FLIGHT ATTENDANTS, et al.,  §
                             §
    Defendants.

                                              ORDER

       Plaintiff filed this case in the United States District Court for the Northern District of Texas

on May 17, 2022. Weeks prior, another plaintiff filed a similar suit in the same court against the

same defendant, Association of Professional Flight Attendants. See 4:22-cv-00343-Y. The same

counsel is involved in both suits. In the interest of efficiency, the Court TRANSFERS this action

to Judge Means of the Fort Worth Division of the Northern District of Texas.

       SO ORDERED on this 6th day of July, 2022.




                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE
